Case 8:19-cr-00047-JLS Document 20-1 Filed 03/22/19 Page 1 of 6 Page ID #:60




                            EXHIBIT A
       Case 8:19-cr-00047-JLS Document 20-1 Filed 03/22/19 Page 2 of 6 Page ID #:61




	  
	  




	  




	  




       	  
Case 8:19-cr-00047-JLS Document 20-1 Filed 03/22/19 Page 3 of 6 Page ID #:62
       Case 8:19-cr-00047-JLS Document 20-1 Filed 03/22/19 Page 4 of 6 Page ID #:63




	  

	  




	  




	  

	  




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Case 8:19-cr-00047-JLS Document 20-1 Filed 03/22/19 Page 5 of 6 Page ID #:64
Case 8:19-cr-00047-JLS Document 20-1 Filed 03/22/19 Page 6 of 6 Page ID #:65
